        Case 4:05-cr-00014-BLW Document 145 Filed 09/27/05 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO



UNITED STATES OF AMERICA,             )
                                       )
     Plaintiff,                        )                 Case No. CR 05-14-E-BLW
                                       )
v.                                     )                 REPORT AND
                                       )                 RECOMMENDATION
TODD LOWELL HAWORTH,                   )
                                       )
     Defendant.                        )
______________________________________)

      On September 27, 2005 the above-named Defendant appeared to enter a change of

plea pursuant to a written plea agreement. Defendant executed a written waiver of the

right to have the presiding United States District Judge take his change of plea.

Thereafter, the Court explained to Defendant the nature of the charges, the maximum

penalties applicable, his constitutional rights, the effect of the Sentencing Guidelines, and

that the District Judge would not be bound by the agreement of the parties as to the

penalty to be imposed.

      Having conducted the change of plea hearing and having inquired of Defendant and

his counsel, and counsel for the United States, the Court concludes that there is a factual

basis for Defendant’s plea of guilty, and that it was entered voluntarily and with full

knowledge of the consequences, and that the plea should be accepted.
        Case 4:05-cr-00014-BLW Document 145 Filed 09/27/05 Page 2 of 2




      Based upon the foregoing, this Court recommends that the District Court accept

Defendant’s plea of guilty to Count One of the Superseding Indictment and that the

remaining Counts be dismissed (as to this Defendant only).

                                               DATED: September 27, 2005.



                                               Honorable Larry M. Boyle
                                               Chief U. S. Magistrate Judge
